                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

UNITED STATES OF AMERICA                §
                                        §
      v.                                §   CRIMINAL NO. 4:24-cr-298
                                        §
EITHAN DAVID HAIM,                      §
        Defendant.                      §

               JOINT MOTION TO DISMISS INDICTMENT

      The United States, appearing through its undersigned attorneys, and the

defendant, Eithan David Haim, hereby move this Court for an order dismissing the

Second Superseding Indictment and all open counts with prejudice.

                                     Respectfully submitted,

                                     Jennifer B. Lowery
                                     ACTING UNITED STATES ATTORNEY


                               By:   /s/ John P. Pearson
                                     John P. Pearson
                                     Assistant United States Attorney
                                     Chief, Criminal Division
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                                     Houston, TX 77002
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                        CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this notice of appearance was filed

and served electronically via the ECF system on counsel for defendant on January

24, 2025.



                                              /s/ John P. Pearson
                                              John P. Pearson
                                              Assistant United States Attorney




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